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 4                              UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
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     KENTRELL D. WELCH,
 7                                                         Case No.: 2:19-cv-01243-APG-NJK
            Plaintiff,
 8                                                                         ORDER
     v.
 9                                                                      [Docket No. 74]
     LIGGETT, et al.,
10
            Defendants.
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12         Pending before the Court is an emergency motion to reset Plaintiff’s competency hearing
13 currently set for January 14, 2021, filed by Defendants Gavin Liggett and Jordan Gunderson
14 (“Defendants”).       Docket No. 74.    For good cause shown, Defendants’ motion is hereby
15 GRANTED. Plaintiff’s competency hearing is RESET for 1:30 p.m. on January 20, 2021. As
16 Plaintiff is currently housed in Ely State Prison, the Attorney General’s Office is INSTRUCTED
17 to coordinate with the undersigned’s courtroom deputy, Ari Caytuero, at 702-464-5566, to
18 facilitate Plaintiff’s video conference appearance at the hearing.
19         IT IS SO ORDERED.
20         DATED: January 12, 2021.
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                                                 NANCY J. KOPPE
22                                               UNITED STATES MAGISTRATE JUDGE

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